     Case 1:18-cv-01258-CFC Document 19 Filed 11/13/18 Page 1 of 9 PageID #: 150



                        IN THE UNITED STATES DISTRICT COURT FOR
                               THE DISTRICT OF DELAWARE

GUYZAR LLC,                                        §
                                                   §
          Plaintiff                                §         C.A. NO. 1:18-CV-01258 CFC
                                                   §
          v.                                       §
                                                   §         DEMAND FOR JURY TRIAL
TRACFONE WIRELESS, INC.                            §
                                                   §
          Defendant.                               §


                              SCHEDULING ORDER [PATENT CASE]

          This __ day of             , 2018, the Court having conducted an initial Rule 16(b)

scheduling conference pursuant to Local Rule 16.1(b), and the parties having determined after

discussion that the matter cannot be resolved at this juncture by settlement, voluntary mediation, or

binding arbitration:

           IT IS ORDERED that:

          1.     Rule 26(a)(1) Initial Disclosures. Unless otherwise agreed to by the parties, the

parties shall make their initial disclosures required by Federal Rule of Civil Procedure 26(a)(1)

within twenty one days of the entry of an Order on Defendant’s pending motion to dismiss.

          2.     Joinder of Other Parties and Amendment of Pleadings. All motions to join other

    parties, and to amend or supplement the pleadings, shall be filed on or before February 21, 2019.

          3.     Discovery.

                 a.        Discovery Cut Off. All discovery in this case shall be initiated so that it

    will be completed on or before May 7, 2020.

                 b.        Document Production. Document production shall be completed on or

    before May 7, 2020.
	                                                      1
     Case 1:18-cv-01258-CFC Document 19 Filed 11/13/18 Page 2 of 9 PageID #: 151




                   c.         Requests for Admission. A maximum of 20 requests for admission are

permitted for each side.

                  d.          Interrogatories. A maximum of 20 interrogatories, including contention

interrogatories, are permitted for each side.

                   e.         Depositions.

                             i.       Limitation on Hours for Deposition Discovery. Each side is

    limited to a total of 35 hours of taking testimony by deposition upon oral examination.

                             ii.      Location of Depositions. Any party or representative (officer,

    director, or managing agent) of a party filing a civil action in this district court must ordinarily be

    required, upon request, to submit to a deposition at a place designated within this district.

    Exceptions to this general rule may be made by order of the Court or by agreement of the parties.

    A defendant who becomes a counterclaimant, cross-claimant, or third-party plaintiff shall be

    considered as having filed an action in this Court for the purpose of this provision.

                   f.         Modifications. Any party may later move to modify these

    limitations for good cause. The parties may modify these limitations by agreement.

             4.        Application to Court for Protective Order. Should counsel find it will be

    necessary to apply to the Court for a protective order specifying terms and conditions for the

    disclosure of confidential information, counsel should confer and attempt to reach an agreement

    on a proposed form of order and submit it to the Court within ten days from the date of this

    Order.

             Any proposed protective order must include the following paragraph:

                              Other Proceedings. By entering this order and limiting the
                              disclosure of information in this case, the Court does not intend to
	                                                       2
     Case 1:18-cv-01258-CFC Document 19 Filed 11/13/18 Page 3 of 9 PageID #: 152



                           preclude another court from finding that information may be
                           relevant and subject to disclosure in another case. Any person or
                           party subject to this order who becomes subject to a motion to
                           disclose another party's information designated as confidential
                           pursuant to this order shall promptly notify that party of the motion
                           so that the party may have an opportunity to appear and be heard
                           on whether that information should be disclosed.

            5.     Disputes Relating to Discovery Matters and Protective Orders. Should counsel

    find they are unable to resolve a dispute relating to a discovery matter or protective order, the

    parties shall contact the Court's Case Manager to schedule an in-person conference/argument.

    Unless otherwise ordered, by no later than 48 hours prior to the conference/argument, the party

    seeking relief shall file with the Court a letter, not to exceed three pages, outlining the issues in

    dispute and the party’s position on those issues. The party shall submit as attachments to its letter

    (1) an averment of counsel that the parties made a reasonable effort to resolve the dispute and

    that such effort included oral communication that involved Delaware counsel for the parties, and

    (2) a draft order for the Court’s signature which identifies with specificity the relief sought by

    the party. By no later than 24 hours prior to the conference/argument, any party opposing the

    application for relief may file a letter, not to exceed three pages, outlining that party's reasons for

    its opposition. Should any document(s) be filed under seal, a courtesy copy of the sealed

    document(s) must be provided to the Court within one hour of e-filing the document(s). If a

    motion concerning a discovery matter or protective order is filed without leave of the Court, it

    will be denied without prejudice to the moving party's right to bring the dispute to the Court

    through the procedures set forth in this paragraph.

            6.     Papers Filed Under Seal. When filing papers under seal, counsel shall deliver to

    the Clerk an original and one copy of the papers. A redacted version of any sealed document

    shall be filed electronically within seven days of the filing of the sealed document.
	                                                      3
     Case 1:18-cv-01258-CFC Document 19 Filed 11/13/18 Page 4 of 9 PageID #: 153




          7.       Courtesy Copies. The parties shall provide to the Court two courtesy copies of all

    briefs and one courtesy copy of any other document filed in support of any briefs (i.e.,

    appendices, exhibits, declarations, affidavits etc.). This provision also applies to papers filed

    under seal.

          8.       Claim Construction Issue Identification. On or before December 5, 2019, the

    parties shall exchange a list of those claim term(s)/phrase(s) that they believe need construction

    and their proposed claim construction of those term(s)/phrase(s). This document will not be filed

    with the Court. Subsequent to exchanging that list, the parties will meet and confer to prepare a

    Joint Claim Construction Chart to be filed no later than December 12, 2019. The Joint Claim

    Construction Chart, in Word format, shall be e-mailed simultaneously with filing to

    cfc_civil@ded.uscourts.gov . The text for the Joint Claim Construction Chart shall be 14-point

    and in a Times New Roman or similar typeface. The parties' Joint Claim Construction Chart

    should identify for the Court the term(s)/phrase(s) of the claim(s) in issue and should include

    each party's proposed construction of the disputed claim language with citation(s) only to the

    intrinsic evidence in support of their respective proposed constructions. A copy of the patent(s)

    in issue as well as those portions of the intrinsic record relied upon shall be submitted with this

    Joint Claim Construction Chart. In this joint submission, the parties shall not provide argument.

          9.       Claim Construction Briefing. The Plaintiff shall serve, but not file, its opening

    brief, not to exceed 5,500 words, on January 2, 2020. The Defendant shall serve, but not file, its

    answering brief, not to exceed 8,250 words, on January 23, 2020. The Plaintiff shall serve, but

    not file, its reply brief, not to exceed 5,500 words, on January 30, 2020. The Defendant shall

    serve, but not file, its sur-reply brief, not to exceed 2,750 words, on February 6, 2020. The

	                                                     4
         Case 1:18-cv-01258-CFC Document 19 Filed 11/13/18 Page 5 of 9 PageID #: 154



    text for each brief shall be 14-point and in a Times New Roman or similar typeface. Each brief

    must include a certification by counsel that the brief complies with the type and number

    limitations set forth above. The person who prepares the certification may rely on the word

    count of the word-processing system used to prepare the brief.

            No later than February 13, 2020, the parties shall file a Joint Claim Construction Brief.

    The parties shall copy and paste their untitled briefs into one brief, with their positions on each

    claim term in sequential order, in substantially the form below.

                               JOINT CLAIM CONSTRUCTION BRIEF

    I.       Agreed-upon Constructions

    II.      Disputed Constructions

             A.     [TERM 1]

                    1.      Plaintiff's Opening Position
                    2.      Defendant's Answering Position
                    3.      Plaintiff s Reply Position
                    4.      Defendant's Sur-Reply Position

             B.     [TERM 2]

                    1.      Plaintiff s Opening Position
                    2.      Defendant's Answering Position
                    3.      Plaintiff's Reply Position
                    4.      Defendant's Sur-Reply Position

    Etc. The parties need not include any general summaries of the law relating to claim

    construction. If there are any materials that would be submitted in an appendix, the parties shall

    submit them in a Joint Appendix.

            10.     Hearing on Claim Construction. Beginning at 9:30 a.m. on February 20, 2020,

the Court will hear argument on claim construction. Absent prior approval of the Court (which, if

it is sought, must be done so by joint letter submission no later than the date on which answering
	                                                     5
     Case 1:18-cv-01258-CFC Document 19 Filed 11/13/18 Page 6 of 9 PageID #: 155



claim construction briefs are due to be served), the parties shall not present testimony at the

argument, and the argument shall not exceed a total of three hours.

          11.     Disclosure of Expert Testimony.
                  a.     Expert Report. For the party who has the initial burden of proof on the

subject matter, the initial Federal Rules 26(a)(2) disclosure of expert testimony is due on or before

June 11, 2020. The supplemental disclosure to contradict or rebut evidence on the same matter

identified by another party is due on or before July 2, 2020. Reply expert reports from the party

with the initial burden of proof are due on or before July 23, 2020. No other expert reports will be

permitted without either the consent of all parties or leave of the Court. Along with the

submissions of the expert reports, the parties shall advise of the dates and times of their experts'

availability for deposition. Depositions of experts shall be completed on or before August 20,

2020.

                  b.        Objections to Expert Testimony. To the extent any objection to expert

    testimony is made pursuant to the principles announced in Daubert v. Merrell Dow Pharm.,

    Inc., 509 U.S. 579 (1993), as incorporated in Federal Rule of Evidence 702, it shall be made by

    motion no later than the deadline for dispositive motions set forth herein, unless otherwise

    ordered by the Court.

          12.     Case Dispositive Motions.

                  a.     No early motions without leave. All case dispositive motions, an opening

brief, and affidavits, if any, in support of the motion shall be served and filed on or before

September 24, 2020. No case dispositive motion under Rule 56 may be filed more than ten days

before the above date without leave of the Court.

                  b.     Word limits combined with Daubert motion word limits. Each party is
	                                                    6
     Case 1:18-cv-01258-CFC Document 19 Filed 11/13/18 Page 7 of 9 PageID #: 156



permitted to file as many case dispositive motions as desired; provided, however, that each SIDE

will be limited to a combined total of 10,000 words for all opening briefs, a combined total of

10,000 words for all answering briefs, and a combined total of 5,000 words for all reply briefs

regardless of the number of case dispositive motions that are filed. In the event that a party files,

in addition to a case dispositive motion, a Daubert motion to exclude or preclude all or any

portion of an expert’s testimony, the total amount of words permitted for all case dispositive and

Daubert motions shall be increased to 12,500 words for all opening briefs, 12,500 words for all

answering briefs, and 6,250 words for all reply briefs for each SIDE. The text for each brief shall

be 14-point and in a Times New Roman or similar typeface. Each brief must include a

certification by counsel that the brief complies with the type and number limitations set forth

above. The person who prepares the certification may rely on the word count of the word-

processing system used to prepare the brief.

          13.      Applications by Motion. Except as otherwise specified herein, any application to

the Court shall be by written motion. Any non-dispositive motion should contain the statement

required by Local Rule 7.1.1.

          14.     Pretrial Conference. On January 21, 2021, the Court will hold a Rule

    16(e) final pretrial conference in Court with counsel beginning at 9:30 a.m. The parties shall

    file a joint proposed final pretrial order in compliance with Local Rule 16.3(c) no later than 5:00

    p.m. on the third business day before the date of the final pretrial conference. Unless otherwise

    ordered by the Court, the parties shall comply with the timeframes set forth in Local Rule 16.3(d)

    for the preparation of the proposed joint final pretrial order.

       15.         Motions in Limine. Motions in limine shall not be separately filed. All in limine

    requests and responses thereto shall be set forth in the proposed pretrial order. Each party shall
	                                                     7
     Case 1:18-cv-01258-CFC Document 19 Filed 11/13/18 Page 8 of 9 PageID #: 157



    be limited to three in limine requests, unless otherwise permitted by the Court. The in limine

    request and any response shall contain the authorities relied upon; each in limine request may be

    supported by a maximum of three pages of argument and may be opposed by a maximum of

    three pages of argument, and the party making the in limine request may add a maximum of one

    additional page in reply in support of its request. If more than one party is supporting or

    opposing an in limine request, such support or opposition shall be combined in a single three-

    page submission (and, if the moving party, a single one-page reply). No separate briefing shall be

    submitted on in limine requests, unless otherwise permitted by the Court.

        16.         Compendium of Cases. A party may submit with any briefing two courtesy

    copies of a compendium of the selected authorities on which the party would like the Court to

    focus. The parties should not include in the compendium authorities for general principles or

    uncontested points of law (e.g., the standards for summary judgment or claim construction). An

    authority that is cited only once by a party generally should not be included in the compendium.

    An authority already provided to the Court by another party should not be included in the

    compendium.

        17.         Jury Instructions, Voir Dire and Special Verdict Forms. Where a case is to be

    tried to a jury, pursuant to Local Rules 47.l(a)(2) and 51.1, the parties should file (i) proposed

    voir dire, (ii) preliminary jury instructions, (iii) final jury instructions, and (iv) special verdict

    forms no later than 5:00 p.m. on the third business day before the date of the final pretrial

    conference. The parties shall submit simultaneously with filing each of the foregoing four

    documents in Word format to cfc_civil@ded.uscourts.gov.

        18.         Trial. This matter is scheduled for a 5-day jury trial beginning at 9:30

    a.m. on February 22, 2021, with the subsequent trial days beginning at 9:30 a.m. Until the case
	                                                       8
     Case 1:18-cv-01258-CFC Document 19 Filed 11/13/18 Page 9 of 9 PageID #: 158



    is submitted to the jury for deliberations, the jury will be excused each day at 4:30 p.m. The trial

    will be timed, as counsel will be allocated a total number of hours in which to present their

    respective cases.

       19.         ADR Process. This matter is referred to a magistrate judge to explore the

    possibility of alternative dispute resolution.




                                                     UNITED STATES DISTRICT JUDGE




	                                                       9
